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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 GABRIEL BENSON,                                   CASE NO. 5:24-CV-1200

                  Plaintiff,                       JUDGE CHRISTOPHER A. BOYKO

 vs.

 CITY OF AKRON, et al.,

                               Defendants.


   JOINT NOTICE OF CONCLUSION OF STATE CRIMINAL PROCEEDINGS AND
                      REQUEST FOR MEDIATION

        Pursuant to the Court’s Order, dated October 29, 2024 (ECF #18), this case has

been stayed under the Younger abstention doctrine pending resolution of the underlying

criminal proceedings in Akron Municipal Court Case No. 24-CR-7388. On March 3, 2025,

however, the underlying criminal charges against Plaintiff that were the subject of the stay

were dismissed. The Parties believe that mediation may be beneficial in this matter prior

to starting the discovery process. Accordingly, counsel for the Parties respectfully request

that this matter be referred to mediation before the United States Magistrate Judge

assigned to this matter, so that the Parties can make a good faith attempt to resolve this

federal court action before incurring the cost and expense of additional litigation.

                                              Respectfully submitted,


/s/ Robert L. Thompson                        /s/ Brian D. Bremer
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Plaintiff
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                             CERTIFICATE OF SERVICE

      I hereby certify that on this 20th day of March, 2025, a copy of the foregoing Joint

Motion was electronically filed via the Court’s electronic filing system. Service was

accomplished upon all counsel of record via the Court’s electronic filing system in

accordance with Fed. R. Civ. P. 5(b)(3).


                                           Brian D. Bremer                           _
                                           Brian D. Bremer – No. 0087363
                                           Counsel for Defendants
